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     PERSOLVE LEGAL GROUP, LLP and DNF ASSOCIATES, LLC
 7
                              UNITED STATES DISTRICT COURT
 8
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    STEVEN C. ZEPEDA,                            Case No.: 21-CV-0625-AJB (WVG)
12                                                 EX PARTE REQUEST TO CONTINUE
                                 Plaintiff,
                                                   TRIAL
13    v.
                                                   Date:      February 14, 2023
14
      PERSOLVE LEGAL GROUP, LLP                    Time:      8:30 a.m.
15    and DNF ASSOCIATES, LLC,                     Courtroom: 4A
                                                   Location:  221 West Broadway
16
                                 Defendants.                  San Diego, CA 92101
17                                                 Honorable Anthony J. Battaglia
18
19         Defendant request that the Court continue the trial because of Defendant Persolve
20   Legal Group, LLP’s representative’s health issues. As this Court may recall, this case
21   was originally scheduled to be tried in November 2022, but the Court had some family
22   issues arise and needed to reschedule. At the conference where the Court explained this
23   issue, the Court tentatively rescheduled the trial, noting that if there was a conflict after
24   counsel had had an opportunity to discuss the new trial date with their clients, the Court
25   would reschedule. Defendants had a conflict, and the Court rescheduled the trial date to
26   February 14, 2023, after consultation with counsel.
27         Mr. Straub had open heart surgery on January 31. Mr. Straub was scheduled to
28   have an exploratory catheterization on January 31 based on abnormal test results over the
                                                1
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 1   preceding 60 days that indicated there were issues. However, during the procedure, the
 2   cardiologist determined that three arteries were almost completely blocked. The
 3   procedure changed from a less than one hour procedure to a more than three hour
 4   surgery. Mr. Straub, who is recuperating at his home in Wisconsin, has not been cleared
 5   by his doctor to return to work or travel. He will be unable to attend trial. For this
 6   reason, Defendants request that the trial be continued. Defendants propose that the Court
 7   set a conference with counsel to set a new trial date.
 8         The evening of February 7, when defense counsel emailed Mr. Straub to schedule a
 9   time to discuss the trial, Mr. Straub responded that he had just had open heart surgery and
10   that he was not available to teleconference on Friday because of appointments with his
11   doctors. Defense counsel immediately spoke to Plaintiff’s counsel, on February 7, and
12   noted that defense counsel would attempt to get more information, including information
13   about whether the trial could proceed. Alex Taylor indicated that Plaintiff’s counsel
14   would generally not oppose a continuance based on medical necessity, but needed more
15   information to make a determination about this matter.
16         Although Mr. Straub was to speak with defense counsel on February 8, Mr. Straub
17   was not feeling up to it, and described the day as a “bad day.” Defense counsel requested
18   over text whether Mr. Straub could attend trial, and Mr. Straub replied by text that he
19   could not, and the trial would need to be continued. Defense counsel immediately texted
20   opposing counsel at 11:30 a.m. on February 8 to inform them that Mr. Straub would be
21   unable to attend trial and Defendants would need to continue the trial. Defense counsel
22   had no response to this text, and followed up with an email on February 8 at 11:00 p.m.
23   that she would be filing the instant request to continue the trial on February 9. Because
24   Mr. Straub had indicated that he could not attend the trial because of his medical
25   condition, defense counsel noted that she would note the request was unopposed, unless
26   Plaintiff’s counsel confirmed otherwise. Plaintiff’s counsel immediately responded that
27   they would need additional information.
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 1         The parties spoke again the morning of February 9, and Plaintiff’s counsel
 2   indicated that they would oppose this request to continue the trial without further
 3   information. Defense counsel emailed Plaintiff’s counsel additional information obtained
 4   by text from Mr. Straub regarding his medical condition. Defense counsel would be
 5   happy to provide the additional information that she provided to Plaintiff’s counsel to the
 6   Court during a conference call, rather than include additional medical information in this
 7   pleading. As of the filing of this request, Plaintiff’s counsel has not consented to this
 8   request to continue the trial.
 9         I declare under penalty of perjury under the laws of the State of California that the
10   foregoing is true and correct. Executed on February 9, 2023, in Sacramento, CA
11    DATED: February 9, 2023                      MESSER STRICKLER BURNETTE, LTD.
12                                                     ___/s June D. Coleman___________
                                                       June D. Coleman
13                                                     Attorneys for Defendants
14                                                     PERSOLVE LEGAL GROUP, LLP
                                                       and DNF ASSOCIATES, LLC
15
16
17                                     CERTIFICATE OF SERVICE
18         I HEREBY CERTIFY that a true and correct copy of the foregoing was
19   electronically served the parties listed on the service list with the Court via email by this
20   Court’s CM/ECF system on February 9, 2023.
                                                          ___/s June D. Coleman___________
21                                                        June D. Coleman
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                                EX PARTE REQUEST TO CONTINUE TRIAL
